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                     EXHIBIT 102
             FILED UNDER SEAL
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                                                                     Page 1


     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     JANE DOE 1, individually and on
     behalf of all others similarly
     situated,
               Plaintiff,
                              Case No.
         -against-            1:22-cv-10019-JSR
     JPMORGAN Chase BANK NA,
               Defendants.
     - - - - - - - - - - - - - - - - - - - - x

                    C O N F I D E N T I A L

                  Videotaped oral deposition of
             MARYANNE RYAN taken pursuant to notice,
             was held at BOIES SCHILLER FLEXNER LLP,
             commencing May 24, 2023, 9:39 a.m., on
             the above date, before Leslie Fagin, a
             Court Reporter and Notary Public in the
             State of New York.



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 2                                                               09:59:00

 3                                                               09:59:01

 4                                                               09:59:07

 5                                                               09:59:11

 6                                                               09:59:16

 7                                                               09:59:21

 8                                                               09:59:26

 9           Q.     In your experience working at the            09:59:29

10   bank, would 20 cash withdrawals be considered               09:59:30

11   unusual?                                                    09:59:36

12           A.     It all depends.                              09:59:37

13           Q.     What does it depend on?                      09:59:39

14           A.     The customer -- who the customer             09:59:41

15   is, what they were doing through the bank,                  09:59:45

16   the dollar amounts of the transactions, the                 09:59:47

17   overall value of somebody's account, how the                09:59:50

18   money came into the account, things such as                 09:59:53

19   that.                                                       09:59:55

20           Q.     Is there anything else it might              09:59:56

21   depend on?                                                  09:59:57

22           A.     I'm sure there are other things              10:00:01

23   that once you start to look at the account                  10:00:03

24   might prompt you to include other elements.                 10:00:05

25                                                               10:00:10
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 2                                                               10:01:22

 3                                                               10:01:25

 4                                                               10:01:26

 5                                                               10:01:28

 6                                                               10:01:34

 7                                                               10:01:40

 8                                                               10:01:43

 9                                                               10:01:45

10                                                               10:01:50

11                                                               10:01:53

12                                                               10:01:56

13                                                               10:01:59

14                                                               10:02:00

15          Q.     When a document                    came       10:02:01

16   from the private bank, what would be the next               10:02:05

17   step for the investigation team?                            10:02:09

18          A.     We would look it over, and as long            10:02:11

19   as we were of the same opinion, we would file               10:02:15

20   the document as is -- almost as is, into a                  10:02:19

21   SAR.                                                        10:02:25

22          Q.     Is it possible that the                       10:02:27

23   investigation team would determine no SAR was               10:02:29

24   necessary?                                                  10:02:32

25          A.     Since we were charged with SAR                10:02:33
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 2   have a requirement to discuss it with anyone                10:03:52

 3   else at the bank, is that correct?                          10:03:53

 4         A.     Correct.                                       10:03:55

 5         Q.     Is it possible despite not having a            10:03:56

 6   requirement to do so, your team or the                      10:03:59

 7   investigation team may still discuss it with                10:04:01

 8   others at the bank?                                         10:04:03

 9                MR. KRAUSE:     Objection.                     10:04:05

10         A.     The SAR decision lies solely with              10:04:06

11   the investigations department.          Could an            10:04:11

12   employee under me have discussed it with                    10:04:15

13   another person within investigations?            Sure.      10:04:18

14                But they weren't going back to the             10:04:20

15   business to discuss the merits of SAR filing,               10:04:24

16   if that's what you are implying.                            10:04:28

17         Q.     Would you have ever discussed the              10:04:30

18   merits of a SAR filing with anyone outside of               10:04:32

19   the investigation team?                                     10:04:35

20                MR. KRAUSE:     Objection.                     10:04:37

21         A.     I would discuss facts that might be            10:04:38

22   in a SAR, but I would not be discussing                     10:04:42

23   whether or not to put it on the clock or not                10:04:44

24   put it on the clock.                                        10:04:46

25         Q.     Was there anyone at JPMorgan who               10:04:48
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 2         Q.     Who is Mary Casey?                             10:42:19

 3         A.     According to Jim, she was the                  10:42:21

 4   market manager.                                             10:42:23

 5         Q.     In the last sentence, it says, We              10:42:24

 6   will revisit if the allegations turn into an                10:42:28

 7   indictment.     Is that right?                              10:42:32

 8         A.     Correct.                                       10:42:33

 9         Q.     Is it your understanding that Jim              10:42:34

10   is reporting Mary Casey's determination or                  10:42:40

11   making his own determination about that?                    10:42:46

12                MR. KRAUSE:     Objection.                     10:42:48

13         A.     I have no idea.                                10:42:49

14         Q.     Do you have a view why the bank                10:42:50

15   would wait until allegations turn into an                   10:42:53

16   indictment before doing an update of the DDR?               10:42:57

17                MR. KRAUSE:     Objection.                     10:43:04

18         A.     Can you repeat the question?                   10:43:12

19         Q.     Do you have a view as to why the               10:43:14

20   bank would wait to revisit the allegations                  10:43:21

21   until they turn into an indictment?                         10:43:27

22                MR. KRAUSE:     Objection.                     10:43:29

23         A.     So there is too much unknown in                10:43:30

24   this sentence, the way it's written.            I don't     10:43:47

25   know that -- whether or not the allegations                 10:43:51
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 2   were included in the last DDR since she knew                10:43:56

 3   about it or not.                                            10:43:59

 4                 It is -- there is lots of things --           10:44:08

 5   lots of people that are in the news that                    10:44:10

 6   never go anywhere.       So the fact that somebody          10:44:15

 7   is waiting for it to solidify into an                       10:44:18

 8   indictment is not that unusual.                             10:44:22

 9          Q.     Earlier you said, quote, That's the           10:44:34

10   forced timeline, but a banker can update his                10:44:38

11   profile of a customer at any point.            End          10:44:41

12   quote.                                                      10:44:44

13                 Do you have a view why, given these           10:44:45

14   news articles, why the banker would not want                10:44:50

15   to update the profile sooner rather than                    10:44:53

16   waiting for an indictment?                                  10:44:56

17                 MR. KRAUSE:    Objection.                     10:44:58

18          A.     I have never been in the banker's             10:45:00

19   role, so I don't know what he or she feels is               10:45:03

20   important to include or not include nor could               10:45:07

21   I tell from this sentence whether or not it                 10:45:11

22   was or wasn't included in that last annual                  10:45:14

23   DDR.                                                        10:45:17

24          Q.     Would an investigator ask a banker            10:45:18

25   why they're making that determination?                      10:45:22
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 2                                                               11:22:33

 3                                                               11:22:35

 4                                                               11:22:35

 5                                                               11:22:38

 6                                                               11:22:41

 7                                                               11:22:45

 8                                                               11:22:48

 9                                                               11:22:53

10                                                               11:22:54

11                                                               11:22:57

12           Q.     It was your understanding at that            11:23:01

13   time that Jeffrey Epstein was not using any                 11:23:03

14   bank accounts or wire services in his                       11:23:06

15   exploitation of women or children?                          11:23:11

16                  MR. KRAUSE:   Objection.                     11:23:14

17           A.     If I had thought, I would have               11:23:16

18   acted on it.                                                11:23:18

19           Q.     When Phil says, I hope -- sorry, he          11:23:19

20   doesn't say I -- he says, Hope that they do                 11:23:28

21   not cave.                                                   11:23:32

22                  What did you understand that to              11:23:32

23   mean?                                                       11:23:34

24           A.     We were presenting to the business           11:23:37

25   to tee it back up again to make a decision on               11:23:41
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 2   retention.       So Phil was of the mindset, as             11:23:44

 3   was I, that he had to go.                                   11:23:49

 4           Q.     Why did you think he had to go?              11:23:52

 5           A.     He was a reputational risk to the            11:23:57

 6   bank.                                                       11:24:00

 7           Q.     Why was it a reputational risk to            11:24:01

 8   the bank?                                                   11:24:04

 9           A.     Any client that would be                     11:24:05

10   consistently in the news for any variety of                 11:24:10

11   reasons would present reputational risk to                  11:24:15

12   the bank.                                                   11:24:18

13           Q.     But in this particular instance,             11:24:18

14   what was the reputational risk to the bank?                 11:24:20

15           A.     There were allegations and there             11:24:23

16   was a conviction about improper behavior with               11:24:25

17   a minor.                                                    11:24:30

18           Q.     And at that time you believed those          11:24:35

19   allegations?                                                11:24:39

20                  MR. KRAUSE:   Objection.                     11:24:41

21           A.     I had no firsthand knowledge.        I       11:24:45

22   was reading what I read in the paper, and I                 11:24:47

23   thought it was disturbing enough that the                   11:24:50

24   customer should be re-reviewed for exit                     11:24:53

25   determination by JPMorgan.                                  11:24:57
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 2                                                               11:54:07

 3                                                               11:54:09

 4                                                               11:54:14

 5                                                               11:54:17

 6                                                               11:54:19

 7                                                               11:54:22

 8                                                               11:54:24

 9                                                               11:54:26

10                                                               11:54:29

11                                                               11:54:32

12                                                               11:54:33

13                                                               11:54:34

14                                                               11:54:39

15                                                               11:54:42

16                                                               11:54:46

17          Q.     But it is fair to say that at the             11:54:49

18   very least at this rapid response meeting                   11:54:51

19   whether or not to keep Jeffrey Epstein as a                 11:54:54

20   client was discussed, is that right?                        11:54:56

21          A.     That was the intention of the                 11:54:59

22   discussion.                                                 11:55:01

23          Q.     Do you believe it is proper for a             11:55:02

24   banker to directly ask a client for facts                   11:55:06

25   regarding an investigation into whether the                 11:55:13
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 2                 Do you see that?                              12:13:37

 3          A.     I do.                                         12:13:37

 4          Q.     Did you find it surprising that the           12:13:38

 5   bank had extended a loan in relation to a                   12:13:43

 6   modeling agency that the DOJ appeared to be                 12:13:50

 7   investigating in relation to underage sex                   12:13:56

 8   trafficking?                                                12:14:02

 9                 MR. KRAUSE:    Objection.                     12:14:03

10          A.     I needed to know more.       It was the       12:14:04

11   first I was hearing of it, so I wanted to                   12:14:07

12   understand more about M2.                                   12:14:14

13          Q.     When you said, If girls were                  12:14:19

14   exploited via their contract or arrangement                 12:14:27

15   it would be hard for us to tell, what did you               12:14:30

16   mean by that?                                               12:14:39

17          A.     If some girl signed on to a                   12:14:41

18   modeling agency and was of the belief that                  12:14:44

19   she was coming to America to do modeling and                12:14:48

20   that wasn't the case, we would not know                     12:14:51

21   whether or not that was true or not.                        12:14:55

22          Q.     In 2011, did you believe the                  12:14:59

23   allegations regarding the M2 modeling agency?               12:15:02

24                 MR. KRAUSE:    Objection.                     12:15:05

25          A.     I think I just heard about it.                12:15:06
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 2   There was one article and I just heard about                12:15:08

 3   it right there in that meeting that there was               12:15:11

 4   a loan, that's all I knew.                                  12:15:13

 5          Q.     Once you learned move about the M2            12:15:15

 6   modeling agency, did you form an opinion                    12:15:18

 7   about whether the allegations regarding                     12:15:21

 8   underage sex trafficking were true?                         12:15:25

 9                 MR. KRAUSE:    Objection.                     12:15:28

10          A.     Again, there was an article that              12:15:29

11   the DOJ was looking at it, that's all I knew.               12:15:32

12                                                               12:15:37

13                                                               12:15:40

14                                                               12:15:44

15                                                               12:15:52

16                                                               12:15:56

17                                                               12:15:56

18                                                               12:16:00

19                                                               12:16:02

20                                                               12:16:05

21          Q.     So you end this email by saying,              12:16:06

22   Bottom line, we need W to meet with Jes to                  12:16:24

23   explain HT and then Jes can decide the next                 12:16:27

24   steps.      Typed on my BB, so sorry for typos.             12:16:33

25   I do have a PB rapid response memo I can                    12:16:38
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 2   know what -- I didn't know what Cutler knew                 13:26:08

 3   or didn't know about the bank's HT work.                    13:26:10

 4          Q.     I'm just trying to understand why             13:26:16

 5   you think Steve Cutler may feel differently,                13:26:21

 6                                                               13:26:26

 7                                                               13:26:30

 8                                                               13:26:33

 9                                                               13:26:37

10                 MR. KRAUSE:    Objection.      Asked and      13:26:37

11          answered.                                            13:26:39

12          A.     We were trying to get him out on              13:26:39

13   reputational risk reasons.          Marrying together       13:26:44

14   the current work that the department was                    13:26:49

15   doing, coupled with his old approval would                  13:26:54

16   have given him a complete picture to                        13:26:57

17   reapprove or relook at whether or not he was                13:27:00

18   still comfortable.                                          13:27:02

19          Q.     You then write, I circled back with           13:27:04

20   PB and that was the reason for the RR meeting               13:27:07

21   on Friday.      Seems -- no, let's stop there.              13:27:12

22                 I will restate that.       You write, I       13:27:19

23   circled back with PB and that was the reason                13:27:21

24   for the RR meeting on Friday.                               13:27:23

25                 Do you see that?                              13:27:26
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 2   that if it were up to them, they would have                 13:31:13

 3   terminated their relationship with Jeffrey                  13:31:16

 4   Epstein?                                                    13:31:19

 5                   MR. WOHLGEMUTH:    Objection.               13:31:19

 6           A.      I don't recall anything specific            13:31:21

 7   said.                                                       13:31:24

 8           Q.      You then write, Digging will take a         13:31:35

 9   few days, I will get back to you when I am                  13:31:38

10   done.        The guy likes cash so the paper trail          13:31:40

11   could be hard.                                              13:31:48

12                   Do you see that?                            13:31:50

13           A.      I do.                                       13:31:50

14           Q.      What did you mean when you said,            13:31:50

15   the guy likes cash so the paper trail could                 13:31:53

16   be hard?                                                    13:31:56

17           A.      As I recall, there were not credit          13:32:01

18   cards activity so I couldn't place people in                13:32:10

19   places at a certain time which is something                 13:32:16

20   we might look at credit card data for because               13:32:18

21   paid -- he took out a lot of cash.                          13:32:22

22                                                               13:32:25

23                                                               13:32:29

24                                                               13:32:33

25                                                               13:32:34
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 2                                                               13:32:36

 3                                                               13:32:39

 4                                                               13:32:42

 5                                                               13:32:43

 6                                                               13:32:44

 7                                                               13:32:47

 8                                                               13:32:49

 9                                                               13:32:53

10                                                               13:32:56

11                MR. LAW:     This will be Exhibit 10,          13:33:41

12          Bates number JPM-SDNYLIT-W-00021929.                 13:33:43

13                (Ryan Exhibit 10, Email Chain,                 13:33:54

14          marked for identification.)                          13:33:54

15                THE WITNESS:      Okay.                        13:34:59

16                                                               13:35:00

17                                                               13:35:03

18                                                               13:35:07

19                                                               13:35:12

20                                                               13:35:13

21                                                               13:35:14

22                                                               13:35:19

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 2                                                               13:41:44

 3                                                               13:41:46

 4                                                               13:41:50

 5                                                               13:41:51

 6                                                               13:41:55

 7                                                               13:41:58

 8                                                               13:42:02

 9                                                               13:42:05

10                                                               13:42:10

11                                                               13:42:15

12                                                               13:42:18

13                                                               13:42:21

14                                                               13:42:21

15                                                               13:42:24

16                                                               13:42:27

17                                                               13:42:30

18                                                               13:42:34

19                 MR. LAW:    This is Exhibit 11, Bates         13:43:13

20          number JPM-SDNYLIT-00194154.                         13:43:16

21                 (Ryan Exhibit 11, Email, marked for           13:43:24

22          identification.)                                     13:43:47

23                 THE WITNESS:     Okay.                        13:43:47

24          Q.     This is an email from you, Maryanne           13:43:48

25   Ryan, to Phillip DeLuca on November 29, 2011,               13:43:53
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 2                                                               16:13:17

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20                                                               16:14:27

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24                                                               16:14:45

25                                                               16:14:48
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 2                                                               16:14:51

 3                                                               16:14:54

 4                                                               16:15:00

 5                                                               16:15:05

 6                                                               16:15:08

 7                                                               16:15:15

 8                                                               16:15:23

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10                                                               16:15:26

11                                                               16:15:30

12                                                               16:15:32

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16                                                               16:15:42

17                                                               16:15:45

18                                                               16:15:51

19                                                               16:15:56

20                                                               16:15:59

21                                                               16:16:01

22                                                               16:16:02

23                                                               16:16:05

24                                                               16:16:08

25                                                               16:16:10
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 2                                                               16:23:14

 3                                                               16:23:15

 4                                                               16:23:17

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 2                                                               16:24:30

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 4                                                               16:24:34

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20                                                               16:25:29

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24                                                               16:25:54

25                                                               16:25:59
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 2   to MC2 Models Management LLC.                               16:46:17

 3                 Do you see that?                              16:46:23

 4          A.     I do.                                         16:46:23

 5          Q.     Did you find it unusual that the              16:46:24

 6   bank had issued a million dollars letter of                 16:46:27

 7   credit to Jeffrey Epstein to backstop a loan                16:46:32

 8   of a model management company that was                      16:46:37

 9   publicly alleged to facilitate underage sex                 16:46:42

10   trafficking?                                                16:46:48

11                 MR. KRAUSE:    Objection.                     16:46:49

12          A.     As a standby letter of credit, it's           16:46:53

13   a backstop.      So we were guaranteeing the                16:46:58

14   million -- or Jeffrey Epstein was                           16:47:03

15   guaranteeing the million dollars if something               16:47:04

16   went wrong with the Mellon loan.                            16:47:06

17          Q.     The next email up, Paul Morris                16:47:11

18   writes, Jim, FYI, expires in April.            I            16:47:15

19   believe this has been extended for a year                   16:47:19

20   each of the last two years.           Let me know if        16:47:22

21   you want to discuss.        Thanks.                         16:47:25

22                 Do you see that?                              16:47:26

23          A.     I do.                                         16:47:26

24          Q.     Do you know if that loan was                  16:47:27

25   extended in April of 2011?                                  16:47:29
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 2           A.     I do not know.                               16:47:36

 3           Q.     Would you have been surprised if             16:47:37

 4   the loan was extended in April of 2011 given                16:47:39

 5   the public allegations regarding MC2 Models                 16:47:42

 6   Management LLC?                                             16:47:47

 7                  MR. KRAUSE:   Objection.                     16:47:48

 8           A.     There was an article about MC2,              16:47:49

 9   yes.     But MC2 Model Management, LLC, the same            16:47:57

10   entity, or -- I don't know if it's the exact                16:48:04

11   same entity.       But I don't know -- it's a               16:48:07

12   backstop loan that was never called upon.              So   16:48:12

13   I don't know what goes into making a credit                 16:48:20

14   decision of pure exit or if there are strings               16:48:22

15   attached to it.                                             16:48:26

16           Q.     Would it strike you as unusual for           16:48:27

17   the bank to offer credit to a client to                     16:48:29

18   backstop a loan for a company that has                      16:48:35

19   publicly been alleged to facilitate underage                16:48:39

20   sex trafficking?                                            16:48:42

21                  MR. KRAUSE:   Objection.                     16:48:44

22           A.     I would hope that in the annual              16:48:45

23   review that fact would have come out and                    16:48:53

24   might have stopped them from renewing the                   16:48:56

25   loan.                                                       16:48:58
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 2          Q.     When you say some other interesting           17:09:09

 3   finds but no smoking guns were.                             17:09:13

 4                 Do you see that?                              17:09:16

 5          A.     Yes.                                          17:09:16

 6          Q.     What did you mean by, other                   17:09:17

 7   interesting finds?                                          17:09:23

 8                 MR. KRAUSE:    Objection.                     17:09:28

 9          A.     Just other things I noticed that I            17:09:29

10   was including so he could have other facts                  17:09:32

11   when he went to speak to Jes.                               17:09:42

12          Q.     What was interesting about these              17:09:44

13   finds?                                                      17:09:47

14          A.     I mean he sponsored other customers           17:09:51

15   to the bank, saw different payments, no huge                17:10:08

16   amounts.      I referred to him as a sugar daddy.           17:10:14

17   His foundation began paying donations to the                17:10:19

18   Palm Beach police department down in Florida,               17:10:26

19   around -- as reported, just before the case                 17:10:31

20   started; paid other monies to different                     17:10:33

21   schools, nothing -- no astronomical payments.               17:10:36

22                 And I noticed that his business               17:10:41

23   account, I saw no credits and debits to                     17:10:43

24   particular investors of his.          He sent a lot         17:10:48

25   of money to his local Palm Beach bank                       17:10:54
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 2   account.                                                    17:11:00

 3          Q.     So those were the finds, correct?             17:11:00

 4          A.     Correct.                                      17:11:05

 5          Q.     What was interesting about those              17:11:05

 6   finds?                                                      17:11:08

 7          A.     Just terminology I applied to it.             17:11:10

 8   Nothing -- nothing underhanded about, I just                17:11:14

 9   thought they were things I told William as he               17:11:20

10   prepared for that meeting.                                  17:11:22

11                                                               17:11:23

12                                                why do you     17:11:26

13   think you needed to tell William about these                17:11:29

14   finds?                                                      17:11:33

15                 MR. KRAUSE:    Objection.                     17:11:35

16          A.     He was meeting with Jes about                 17:11:37

17   retaining Epstein as a customer.           So there         17:11:39

18   were different facts that I thought I should                17:11:44

19   pass on to William beforehand.                              17:11:46

20          Q.     So for example, if we look at No.             17:11:52

21   2, where you say, His foundation account did                17:11:57

22   pay donations to the Palm Beach police                      17:11:59

23   department as reported just before the case                 17:12:02

24   started, this same foundation account did pay               17:12:04

25   monies direct to models and payments direct                 17:12:08
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 2   to specialty schools (massage, culinary) and                17:12:11

 3   universities on behalf of models/aspiring                   17:12:19

 4   actresses, nothing was astronomical.                        17:12:24

 5                 Do you see that?                              17:12:29

 6          A.     I do.                                         17:12:29

 7          Q.     Were you aware in 2011 that Jeffrey           17:12:29

 8   Epstein was alleged to commit sexual                        17:12:37

 9   misconduct in relation to massages?                         17:12:42

10          A.     I don't know when I became aware of           17:12:53

11   certain things.       There has been so much press          17:12:57

12   that -- throughout the years, I can't speak                 17:13:00

13   to exact moment that I heard about different                17:13:03

14   allegations.                                                17:13:07

15          Q.     Were you aware in 2011 that Jeffrey           17:13:08

16   Epstein's sexual misconduct often involved                  17:13:17

17   models and aspiring actresses?                              17:13:23

18                 MR. KRAUSE:    Objection.                     17:13:28

19          A.     I don't -- I don't recall what I              17:13:29

20   read or didn't read about the people he                     17:13:35

21   associated to.                                              17:13:38

22                                                               17:13:40

23                                                               17:13:44

24                                                               17:13:47

25                                                               17:13:52
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 2                                                               17:13:55

 3                                                               17:13:57

 4                                                               17:14:00

 5                                                               17:14:03

 6                                                               17:14:08

 7                                                               17:14:12

 8                                                               17:14:16

 9                                                               17:14:19

10                                                               17:14:22

11                                                               17:14:28

12                                                               17:14:32

13                                                               17:14:36

14                                                               17:14:39

15                                                               17:14:42

16                                                               17:14:43

17                                                               17:14:44

18                                                               17:14:46

19                                                               17:14:50

20                                                               17:14:53

21                                                               17:14:55

22                                                               17:14:59

23                                                               17:15:01

24                                                               17:15:04

25                                                               17:15:07
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 2                                                               17:15:09

 3                                                               17:15:10

 4                                                               17:15:16

 5                                                               17:15:19

 6                                                               17:15:23

 7                                                               17:15:33

 8                                                               17:15:37

 9                                                               17:15:41

10                                                               17:15:43

11                                                               17:15:46

12          Q.     In the previous find you call                 17:15:55

13   Jeffrey Epstein a sugar daddy.                              17:15:58

14                 Do you see that?                              17:16:03

15          A.     I do.                                         17:16:03

16          Q.     What does that mean?                          17:16:03

17          A.     Somebody that likes to spend his              17:16:04

18   money on ladies.                                            17:16:08

19          Q.     Does the term sugar daddy, in your            17:16:15

20   view, imply financial support in exchange for               17:16:19

21   sexual favors?                                              17:16:25

22          A.     No, it does not.                              17:16:26

23          Q.     Did you find it unusual that he               17:16:32

24   spends, quote, a good deal at spa                           17:16:36

25   establishments, end quote?                                  17:16:39
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 2          A.     They spent, he didn't spend.                  17:16:50

 3          Q.     Did you find it unusual that they             17:16:59

 4   spent a good deal at spa establishments?                    17:17:02

 5          A.     No.                                           17:17:08

 6          Q.     Looking at the beginning of find              17:17:25

 7   No. 1, you say, the opening of DDA accounts                 17:17:27

 8   and a CC for two 18-year-olds turned 19 days                17:17:32

 9   later, that appear to be part of his inner                  17:17:39

10   entourage.      One is mentioned in many of the             17:17:43

11   recaps of the escapades as a willing                        17:17:45

12   participant and assistant when hosting                      17:17:48

13   visitors.      She has received about 450,000               17:17:50

14   since opening from Epstein.                                 17:17:53

15                 Do you see that?                              17:17:56

16          A.     I do.                                         17:17:56

17          Q.     Did you find it unusual that a man            17:17:57

18   over 50 years old was opening accounts for                  17:18:02

19   18-year-old women who were not his relatives?               17:18:09

20          A.     If they were significant other to             17:18:18

21   him, no, I would not have found that unusual.               17:18:21

22          Q.     Did you find it unusual that a                17:18:25

23   willing participant of the escapades was paid               17:18:30

24   450,000 from Epstein?                                       17:18:37

25          A.     I'm not sure which article this is            17:18:46
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 2   referring to.      The way -- the way I phrased             17:18:51

 3   it, if we are referring to that person                      17:18:54

 4   earlier that I looked at, that was in another               17:18:57

 5   email, if -- I thought she was his                          17:19:01

 6   significant other and she was routinely                     17:19:09

 7   gifted money from Epstein and had her own                   17:19:11

 8   account with her own credit card, which had                 17:19:15

 9   no strings; meaning he didn't control it.                   17:19:17

10   She came and went with the banker however she               17:19:20

11   would see fit, that did not appear that                     17:19:22

12   unusual to me.                                              17:19:26

13          Q.     If you learned that she was not his           17:19:27

14   significant other, would it have appeared                   17:19:29

15   unusual to you?                                             17:19:33

16          A.     I would have found it very unusual            17:19:33

17   that he would have sponsored somebody for the               17:19:36

18   private bank to independently operate if --                 17:19:38

19   that would not fit a fact pattern of somebody               17:19:46

20   that was controlling somebody to me.                        17:19:50

21          Q.     Are you aware of anyone at the bank           17:19:52

22   asking Jeffrey Epstein whether these women                  17:19:56

23   were his significant others?                                17:20:00

24          A.     I am not aware of what led to the             17:20:04

25   opening of these accounts.                                  17:20:08
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 2                                                               18:23:07

 3                                                               18:23:09

 4                                                               18:23:12

 5                                                               18:23:16

 6                                                               18:23:20

 7                                                               18:23:20

 8                                                               18:23:23

 9                                                               18:23:27

10                                                               18:23:29

11                                                               18:23:34

12                                                               18:23:36

13                                                               18:23:47

14                                                               18:23:57

15                                                               18:23:59

16                                                               18:24:04

17                                                               18:24:06

18          Q.     So I do want to ask you a little              18:24:08

19   about Mr. DeLuca's statement.                               18:24:10

20                 As you just testified, he responds            18:24:12

21   to your email about the large cash                          18:24:15

22   withdrawals not stopping, and he said                       18:24:17

23   shouldn't the business have been telling us                 18:24:20

24   this, correct?                                              18:24:22

25          A.     That's what he wrote.                         18:24:23
